                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN
                                   Hon. Lynn Adelman, presiding

                                           COURT MINUTES

Date:        6/18/25                                             Dep. Clerk: JD
Case No.     25-CR-89                                            Ct. Rep:     Jen
United States v. Hannah Dugan                                    Time Called: 11:15
Proceeding: status                                               Time Concl: 11:30

United States by:    Rick Frohling, Kelly Watzka, Keith Alexander
Probation Officer:
Interpreter:
Defendant:           by Steve Bispkupic, Nicole Masnica, Jason Luczak


Court hears from parties re: 7/21/25 JT date.
Court will resolve motion to dismiss first, then reset the JT date.
Court converts 7/9/25 FPT to status/scheduling conf.




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